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  AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A CRIMINAL COMPLAINT
                           AND ARREST WARRANT

 I, Jessica Krueger, being duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKROUND

        1.         I seek a criminal complaint charging Mohammed Sabry SOLIMAN (“SOLIMAN”)

 with one count of a hate crime offense involving the actual or perceived race, religion, or national

 origin in violation of 18 U.S.C. §§ 249(a)(1) and (a)(2).

        2.         I am a Special Agent with the FBI and have been since November 2009. I am

 involved in investigations of persons suspected of violations of Federal law in the State of

 Colorado and throughout the United States. I have gained experience conducting investigations

 through formal training and consultation with local, state, and federal law enforcement agencies

 as well as from law enforcement investigations themselves. I have assisted in multiple criminal

 investigations and participated in numerous search and arrest warrants related to such

 investigations.

        3.         The facts in this affidavit are based on my personal observations, my training and

 experience, and information obtained from other agents, local law enforcement, and witnesses.

 This affidavit is intended to show only that there is sufficient probable cause for the requested

 warrant and does not set forth all of my knowledge about this matter.

        4.         Based on my training and experience, and the facts sets forth in this affidavit, there

 is probable cause to believe that Mohammed Sabry SOLIMAN has violated 18 U.S.C. §§ 249(a)(1)

 and (a)(2) (hate crime offenses involving actual or perceived race, religion, or national origin) by

 throwing Molotov cocktails into a pro-Israel crowd while yelling “Free Palestine” and injuring

 eight individuals.




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                                   JURISDICTION AND VENUE

         5.      As discussed more fully below, acts in furtherance of the offenses under

 investigation occurred within the District of Colorado.

                                    STATUTORY AUTHORITY

         6.      Under 18 U.S.C. § 249(a)(1), it is a felony when “whoever, whether or not acting

 under color of law, willfully causes bodily injury to any person or, through the use of fire, a firearm,

 a dangerous weapon, or an explosive or incendiary device, attempts to cause bodily injury to any

 person, because of the actual or perceived race, color, religion, or national origin of any person.”

         7.      Under 18 U.S.C. § 249(a)(2), it is a felony when “whoever, whether or not acting

 under color of law, willfully causes bodily injury to any person or, through the use of fire, a firearm,

 a dangerous weapon, or an explosive or incendiary device, attempts to cause bodily injury to any

 person, because of the actual or perceived religion, national origin, gender, sexual orientation,

 gender identity, or disability,” in any circumstances in which, “in connection with the conduct. . .,

 the defendant employs a firearm, dangerous weapon, explosive or incendiary device, or other

 weapon that has traveled in interstate or foreign commerce.”


                                         PROBABLE CAUSE

         8.      According to a post on Facebook, an organization called “Run For Their Lives”

 organizes a weekly walk across locations in the United States as a way to call attention to Israeli

 hostages still being held in Gaza. As documented in the post the organization walks in Boulder

 every Sunday and posted about a walk on Sunday, June 1, 2025, at 1:00 PM, at the corner of 8th

 and Pearl, Street, Boulder, Colorado.

         9.      On June 1, 2025, at approximately 2:00 p.m. MST, SOLIMAN threw two lit

 Molotov cocktails at individuals participating in a pro-Israel gathering near the Boulder


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 Courthouse, located at 1303 Pearl St, Boulder, CO 80302. When he threw the Molotov cocktails,

 SOLIMAN yelled “Free Palestine!” and the Molotov cocktails ignited in the crowd of people,

 causing burn injuries to eight individuals.

        10.     SOLIMAN was detained by local law enforcement. A black plastic container with

 a yellow top was found near where SOLIMAN was arrested. In the black plastic container were at

 least fourteen unlit Molotov cocktails, comprised of glass wine carafe bottles or Ball jars

 containing clear liquid and red rags hanging out of the bottles. Near the black plastic container was

 a backpack weed sprayer, potentially containing a flammable substance. The clear liquid in the

 glass bottles and weed sprayer were determined to be 87 octane gasoline, which was determined

 to contain xylene based on a field test.

        11.     Law enforcement located a 2015 silver Toyota Prius, Colorado license plate

 CQAN01, registered to SOLIMAN and parked nearby on Spruce Street and 13th Street. Visible

 inside the car was red material consistent with the rags found in the black plastic container; a red

 gas container; and paperwork with the words, “Israel,” “Palestine,” and “USAID.” The vehicle

 was subsequently moved to the FBI Denver facility.

        12.     SOLIMAN was placed under arrest and a mirandized interview was conducted by

 local and federal law enforcement. During the interview, SOLIMAN stated that he researched on

 YouTube how to make Molotov Cocktails, purchased the ingredients to do so, and constructed

 them. He traveled to Boulder, Colorado in his vehicle with the Molotov cocktails and threw two

 of the cocktails at individuals participating in a pro-Israel gathering. He also stated that he picked

 up gas at a gas station on the way to Boulder. He stated that he wanted to kill all Zionist people

 and wished they were all dead. SOLIMAN stated he would do it (conduct an attack) again. He

 specifically targeted the “Zionist Group” that had gathered in Boulder having learned about the



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 group from an online search. SOLIMAN knew that they planned to meet today, Sunday, June 1 at

 1pm. He arrived at approximately 12:55 p.m. and waited for them. Throughout the interview,

 SOLIMAN stated that he hated the Zionist group and did this because he hated this group and

 needed to stop them from taking over “our land,” which he explained to be Palestine. He stated

 that he had been planning the attack for a year and was waiting until after his daughter graduated

 to conduct the attack.

        13.     Also during the interview, SOLIMAN stated that he resides at 2316 Washo Circle,

 Colorado Springs, Colorado with his wife and five children. He stated he left an iPhone at the

 house, hidden in a desk drawer, with messages to his family. He also stated that he left a journal

 inside his house.

        14.     According to his Colorado driver’s license, SOLIMAN resides at 2316 Washo

 Circle, Colorado Springs.

        15.     After his arrest, law enforcement officers arrived at SOLIMAN’s residence in

 Colorado Springs and observed his wife leaving the home. SOLIMAN’s wife then went to the

 Colorado Springs Police Office. She brought with her an iPhone 14 that she identified to belong

 to SOLIMAN and be used by other members of their family.

        16.     Law enforcement officers also observed the storage unit identified by a neighbor to

 be associated with SOLIMAN’s residence, which was located behind the residence.

        17.     In a video, which was posted on the social media platform X during the attack, an

 individual identified as SOLIMAN is seen shirtless, pacing back and forth while holding what

 appear to be Molotov cocktails, glass bottles containing clear liquid with a red rag hanging from

 the top of the bottle. He is captured on the video stating “how many children killed” then a few

 moments later “end Zionist.”



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         18.    Based on my training, experience and research, I know that “Zionist” to mean

 individuals who believe in the establishment of a Jewish state and are supportive of the government

 of Israel.

         19.    Based on my training and experience, both the wine carafe bottles and the gasoline

 used to make the Molotov cocktails are not manufactured within the District of Colorado and have

 traveled in interstate or foreign commerce.

                                          CONCLUSION

         20.    Based on the above facts and information, I submit that there is probable cause to

 believe that Mohammed Sabry SOLIMAN has violated 18 U.S.C. § § 249(a)(1) and (a)(2) (hate

 crime offenses involving actual or perceived race, religion, or national origin).

         I declare under penalty of perjury that the foregoing is true and correct to the best of my
 information, knowledge, and belief.

                                               s/Jessica Krueger
                                               Jessica Krueger, Special Agent
                                               FBI


         Submitted, sworn to, attested to, and acknowledged by the affiant by reliable electronic
 means this 1st day of June, 2025.



                                               BY THE COURT:

                                               ____________________________________
                                               THE. HON. N. REID NEUREITER
                                               UNITED STATES MAGISTRATE JUDGE
                                               DISTRICT OF COLORADO

 This Application and affidavit were reviewed and are submitted by Melissa Hindman,
 Assistant United States Attorney.




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